Case 2:04-Cv-02803-.]PI\/|-tmp Document 10 Filed 05/18/05 Page 1 of 2 Page|D 24

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

MICHAEL COLLINS, CARL HARRISON,

and ROSALIND HARRISON, §

Plaintiffs, §
v. § No. 04-2803 Ml/P
SHELBY COUNTY, §

Defendant. §

 

ORDER GRANTING MOTION TO CONTINUE TRIAL AND TO EXTEND CERTAIN
PRETRIAL DATES

 

Before the Court is Defendant Shelby County's Motion to
Continue Trial and to Extend Certain Pretrial Dates, filed May
ll, 2005. For good cause shown, the motion is GRANTED.

All discovery in this case shall be completed by November
28, 2005. Additionally, the Court hereby sets the following
trial schedule in this case:

Trial: Mondav, Februarv 27, 2006, at 9:30 a.m.
Pretrial Conference: Thursdav, Februarv l6, 2006, at 8:45 a.m.

Pretrial Order: Thursdav, Februarv 9, 2006, bv 4:30 D.m.

So ORDERED this _é:th day of May, 2005.

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JO P. MCCALLA
U TED STATES DISTRICT JUDGE

This document entered on the docket sheet in compliance

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Honorable .1 on McCalla
US DISTRICT COURT

